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       ATTACHMENT 1
       Langer Complaint
                  Case 3:20-cv-02405-H-WVG Document 1-2 Filed 12/09/20 PageID.8 Page 2 of 21

                                                                                                                                                               SUiVI-100
                                                       SUMMONS                                                                        FOR COURT USF OMI..Y
— — — — — — — — — — — — — — — (C_I_TAC-I O N_J-U D I C IAL )- — — — — — — — — — -- -- --(socO-P RA osOTe-rA COsTE) — —

        NOTICE TO DEFENDANT:                                                                                                ELECTRONlCALL'`il` F9LED
        (AVISO AL DEMANDADO):                                                                                                Superior Uraurt of Califr;mia,
        I)efenders, Inc,, an Indiana Corporation;                                                                                 Crsunty af San Diegr
        an Does 1-                                                                                                            102812020 at 09:24:21 rf0
        YOU ARE BEING SUED BY PLAINTIFF:                                                                                      Clerk of the aLtperirr Cr:,u!t
        ~LO ESTA DEMANDANDO EL DEMANDANTE):                                                                                  G'y Ittbro David,DepuEY CIFrk
        CYris Langer
        NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
        below.
          You have 30 CALENDER DAYS after this summons and [egal papers are served on you to fi!e a written response at this court and have a copy served
        on the p!aintiff. A letter or phone ca[I wil[ not protect you. Your written response must be in proper legal form if you want the court to hear your case.
        There may be a court form that you can use for your response. You can find these court forms and more information at the Ca[ifomia Courts Online
        Se!f-He!p Center (www.courtinfo.ca.00vlse[fhe[p), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask the court
        c!erk for a fee waiver form. If you do not fi!e your response on time, you may !ose the case by defau!t, and your wages, money, and property may be
        taken without further warning from the court.
           There are other legal requirements. You may want to ca!l an attorney right away. If you do not know an attorney, you may want to call an attorney
        referra[ service. If you cannot afford an attorney, you may be e!igib[e for free !ega[ services from a nonprofit !ega[ services program. You can [ocate
        these nonprofit groups at the Ca!ifornia Lega[ Services Web site (www.lawhe!pca!ifornia.org), the California Courts On[ine Se!f-Help Center
        (www.courtinfo.ca.aovlse!fhe[p), or by contacting your !ocai court or county bar association. NOTE: The court has a statutory lien for waived fees and
        costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's [ien Inust be paid before the court wi!l dismiss the case.
        iAVISO! Lo han demandado. Si no responde dentro de 30 dias, la corte puede decider en su contra sin escuchar su version. Lea !a information a
        continuacion.
         Tiene 30 DIAS DE CALENDARIO despues de que le entrguan esta citacion y papeles [egales para presentar una respuesta por escrito en esta corte y
        hacer que se entrgue una copia al demandante. Una carta o una 1!amada te!efonica no !o protegen. Su respuesta por escrito tine que estar en formato
        [egal correcto si desea que procesen su caso an la corte. Es possib[e que haya un formu[ario que usted pueda usar para su respuesta. Puede
        encontrar estos formu!arios de !a corte y mas informacion en a! Centro de Ayuda de [as Cortes de Ca!ifornia (www.courtinfo.ca.qov/se!fhelp/espano!/),
        en la bib!ioteca de [eyes de su condado o en [a corte que le quede mas cerca. Si no puede pagar [a cuota de presentacion, pida al secretario de !a
        corte que !e de un formular[o de exencion de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incump!imiento y]a corte
        le podra quitar su sue!do, dinero y bienes sin mas advertencia.
          Hay otros requisitos lega!es. Es recommendab[e que 1!atne a un abogado inmediatamente. Si no conoce a un abogado, puede [!amar a un servicio
        de remission a abogados. Si no puede pagar a un abogado, es possible que cumpla con [os requisitos para obtener servivios [ega[s gratuitos de un
        programa de servicios lega[es sin fines de !ucro. Puede encontrar estos grupos sin fines de lucro en el sitio web de Ca!ifornia Legal Services,
        (www.lawhelpcalifornia.oral, en el Centro de Ayuda de las Cortes de California, (www.courtinfo.ca.gov/se!fhe!p.espano[/) or poniendose en contacto con
        [a corte o el co[egio de abogados [oca!es. AVISO: Por [ey, !a corte tiene derecho a rec!amar las cuotas y!os costos exentos por imponer un gravamen
        sobre cualquier recuperacion de $10,000 o mas de valor recibida mediante un acuerdo o una concesion de arbitraje en un caso de derecho civi!. Tiene
        que pager ei gravamen de la corte antes de que [a corte pueda desechar e! caso.

        The name and address of the court is: San Diego Central Courthouse                                                CASE NUMBER:
        (Ei nombre y direcclon de la corte es):                                                                           (NumerodelCaso)' 37-2020-00039151-CU-CR-CTL
        1100 Union St
        San Diego, CA 92101
        San Diego Central Courthouse
        The name, address, and telephone number of plaintiff's attorney, or plaintiff without an attorney, is:
        (EI nombre, la direccion y el numero del telefono del abogade del demandante, o del demandante que no tine abogado, es):
        Russell Handy., Ceriter for Disability Access, 8033 Linda Vista Road, Suite 200 San Diego, CA 92111
        (858) 375-7385

         DATE: .I0/29~2020                                     Clerk, by                                      M. David                                        Deputy
        (Fecha)                                        (Secretario)                                                                                        (Adjunto;
        (For Proof of service of this summons, use Proof of Service of Summons (form POS-010).)
        (Para prueba de entrega de esta citation use el formulario Proof of Service of Summons, (POS-010).)
                                           NOTICE TO THE PERSON SERVED: You are served
                                           1. ❑ as an individual defendant.
                                           2. ❑ as the person sued under the fictitious name of (specify):


                                               3. ❑ on behalf of (specify)
                                                under: ❑ CCP 416.10 (corporation)                ❑ CCP 416.60 (minor)
                                                       ❑ CCP 416.20 (defunct corporation)        ❑ CCP 416.70 (conservatee)
                                                       ❑ CCP 416.40 (association or partnership) ❑ CCP 416.90 (authorized person)
                                                       ❑ Other (specify):
                                               4. ❑ by personal delivery on (date):
                                                                                                                                                                 Paae 1 of 1
        Form Adopted for Mandatory Use                                     .CJUMMON J
                                                                                    ^
                                                                                    `                                                   Code of Civil Procedure §§ 412.20, 465
           Judicial Council of California                                                                                                                www.courtinlo.ca.gov
           SUM-100 [Rev. July 1, 2009]
Case 3:20-cv-02405-H-WVG Document 1-2 Filed 12/09/20 PageID.9 Page 3 of 21
                                          T       Y



                                                                     EL.EC7'FIONlCALLY-FILED-            -
                                                                       Sup- erior Gourt of Dalifr,mia,
                                                                            Dounty of San Diegrr

        CENTER FOR DISABILITY ACCESS                                   1 Q28Qa24 at 09:24:2 1 A#Ld
  1
        Raymond Ballister Jr., Esq., SBN 111282                         Dlerk af the 9uperior GUurf
        Russell Handy, Esq., SBN 195058                               By N1.arc David,Deputy Clerk
  2
        Amanda Seabock, Esq., SEN 289900
  3     Zachary Best= Esq., SBN 16603 5
        Mail: 8033 Linda Vista Road, Suite 200
  4     San Die o, CA 92111
         (858) 3~5-7385; (888) 422-5191 fax
  5      amandas@potterhandy.com
  6     Attorneys for Plaintiff
  7

  8                  SUPERIOR COURT OF THE STATE OF CALIFORNIA
  9
                               COUNTY OF SAN DIEGO

 10
 11
           Cliris I,anger,                        CaSe N®. 37-2020-000391 6 1- C U- iC R- CTL

                 Plaintiff,
 12                                               iTNI.,IIVdI'I'ED CIVIE CASE
 13
            V.
                                                  C®m lagnt f®r Injunctive
 14
           1)efenders, Inc., an Indiana           Itelie~ ancl Damages F®r
           Corporation; and Does 1-10,            Vi®lati®ns Of: Americans with
 15              Defendants,                      Disabilities Act; Unruh Civil
                                                  Rights Act
 16
 17
  18
  19
             Plaintiff Chris Langer ("Plaintiff") complains of Defenders, Inc., an
 20
       Indiana Corporation; and Does 1-10 ("Defendants"), and alleges as follows:
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       Complaint
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  1      I'AItTIES:
  2      1. Plaintiff is a disabled individual and a member of a protected class of
  3    persons under the Americans with Disabilities Act. Plaintiff suffers from
  4    Delayed Endolymphatic Hydrops (DEH) which has caused permanent partial
  5    hearing loss. He utilizes a variety of assistive listening devices in his day to day
  6    life, including hearing aids and headphones to compensate, though this still
  7    does not enable him to receive complete aural communication. When
   8   consuming audio content such as movies or tutorials on the internet he turns
   9   on closed captioning in order to comprehend all of the content.
  10     2. Defendant Defenders, Inc., ("Defenders") owned or operated Protect
  11   Your Home located throughout California, including stores in San Diego
  12   County, in October 2020.
  13     3. Defendant Defenders, Inc., owns and operates Protect Your Home
  14   located throughout California, including stores in San Diego County currently.
  15     4. Defendant Defenders, Inc., owned or operated the Protect Your Home
  16   website, with a root domain of: protectyourhome.com, and all related
  17   domains, sub-domains and/or content contained within it, ("Website") in
  18   October 2 02 0.
  19      5. Defendant Defenders, Inc., owns or operates the Website currently.
  20      6. Plaintiff does not know the true names of Defendants, their business
  21   capacities, their ownership connection to the property and business, or their
  22   relative responsibilities in causing the access violations herein complained of,
  23   and alleges a joint venture and common enterprise by all such Defendants.
  24   Plaintiff is informed and believes that each of the Defendants herein,
  25   including Does 1 through 10, inclusive, is responsible in some capacity for the
  26   events herein alleged, or is a necessary party for obtaining appropriate relief.
  27   Plaintiff will seek leave to amend when the true names, capacities,
  28   connections, and responsibilities of the Defendants and Does 1 through 10,


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       Complaint
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   1   inclusive, are ascertained.
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   3     JiJIZISDICTI®No
   4     7. This Court has subject matter jurisdiction over this action as a court of
   5   general jurisdiction. This Court has personal jurisdiction over Defendants
   6   because they conduct substantial business in the State of California, County of
   7   San Diego, and Defendant's offending Website is available throughout
   8   California.
   9     8. Venue it proper in this Court because Defendant conducts business in
  10   this County.
  11     9. Unlimited jurisdiction is proper because Plaintiff seeks a permanent
  12   injunction ordering compliance with the Americans with Disabilities Act.
  13

  14     FACTLTAIt, AI.I.,EGATI®NSe
  15     10. Plaintiff suffers from hearing loss and is a member of a protected class
  16   under the ADA.
  17     11. Plaintiff relies on subtitles and closed captioning to hear audio in
  18   recorded content.
  19     12. Defenders operates "brick and mortar" facilities throughout California,
  20   open to the public, places of public accommodation, and business
  21   establishments.
  22     13. Defenders offers videos on its Website to induce customers to purchase
  23   its goods and to provide ideas on how to best use them. Websites and videos
  24   are some of the facilities, privileges, or advantages offered by Defendants to
  25   patrons of Defenders.
  26     14. Plaintiff was a prospective customer who wished to access Defendant's
  27   goods and services.
  28     15. Plaintiff visited the Website in October 2020 to confirm the business


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       Complaint
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   1   was
   2   open, review any policies regarding customer safety, and look for information
   3   about the company and its products.
   4     16. When Plaintiff attempted to view video content on the Website, he
   5   discovered that the videos lacked closed captioning, which made him unable
   6   to fully understand and consume the contents of the videos.
   7     17. Plaintiff experienced difficulty and discomfort in attempting to view
   8   videos including: "Why Choose an ADT®-Monitored Home Security System
   9   Over Competitors". As a result of this inaccessibility he was deterred from
  10   further use of the Website.
  11     18. Currently, the Defendants either fail to provide an accessible website or
  12   Defendants have failed to maintain in working and useable conditions those
  13   website features required to provide ready access to persons with disabilities.
  14     19. Despite multiple attempts to access the Website using Plaintiff's
  15   computer, Plaintiff has been denied the full use and enjoyment of the facilities,
  16   goods and services offered by Defendants as a result of the accessibility
  17   barriers.
  18     20. Plaintiff personally encountered accessibility barriers and has actual
  19   knowledge of them.
  20     21. By failing to provide an accessible website, the defendants denied
  21   Plaintiff full and equal access to the facilities privileges or advantages offered
  22   to their customers.
  23     22. Plaintiff has been deterred from returning to the website as a result of
  24   these prior experiences.
  25     23. The failure to provide accessible facilities created difficulty and
  26   discomfort for the Plaintiff.
  27      24. If the Website had been constructed equally accessible to all individuals,
  28   Plaintiff would have been able to navigate the website and avail himself of its


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       Complaint
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   1   goods and/or services.
   2     25. Additionally, Plaintiff is a tester in this litigation and seeks future
   3   compliance with all federal and state laws. Plaintiff will return to the Website
   4   to avail himself of its goods and/or services and to determine compliance with
   5   the disability access laws once it is represented to him that the Defenders and
   6   Website are accessible.
   7     26. Plaintiff is currently deterred from doing so because of Plaintiff's
   8   knowledge of the existing barriers and uncertainty about the existence of yet
   9   other barriers on the Website. If the barriers are not removed, Plaintiff will
  10   face unlawful and discriminatory barriers again.
  11     27. The barriers identified above violate easily accessible, well-established
  12   industry standard guidelines for making digital content accessible to people
  13   with hearing-impairments to access websites. Given the prevalence of
  14   websites that have implemented these standards and created accessible digital
  15   content, it is readily achievable to construct an accessible website without
  16   undue burden on Defenders or a fundamental alteration of the purpose of the
  17   Website.
  18     28. Compliance with W3C Web Content Accessibility Guidelines
  19   ("WCAG") 2.1 AA standards are a viable remedy for these deficiencies and a
  20   standard that has been adopted by California courts for website accessibility.
  21     29.It's been established that failure to remove inaccessible website
  22   conditions violates the ADA and California law and requiring compliance with
  23   industry access standards is a remedy available to the plaintiff.
  24     30. The website content was intentionally designed, and based on
  25   information and belief, it is the Defendants', policy and practice to deny
  26   Plaintiff access to the website, and as a result, deny the goods and services that
  27   are otherwise available to patrons of Defenders.
  28     31. Due to the failure to construct and operate the website in line with


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       Complaint
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   1   industry standards, Plaintiff has been denied equal access to Defendant's
   2   stores and the various goods, services, privileges, opportunities and benefits
   3   offered to the public by Defenders.
   4     3 2. Closed captioning can be provided at little cost, sometimes free or mere
   5   dollars per minute of video content.
   6     3 3. Closed captioning is supported by numerous third party hosting
   7   companies, including the one chosen by Defendants, and can be provided at
   8   little cost, sometimes free or mere dollars per minute of video content.
   9     34. Given the nature of the barriers and violations alleged herein, the
  10   plaintiff alleges, on information and belief, that there are other violations and
  11   barriers on the iNebsite that relate to his disability. In addition to the barriers
  12   he personally encountered, Plaintiff intends to seek removal of all barriers on
  13   the Website that relate to his disability. See Dorctn v. 7-Eleven (9th Cir. 2008)
  14   524 F.3d 1034 (holding that once a plaintiff encounters one barrier, they can
  15   sue to have all barriers that relate to their disability removed regardless of
  16   whether they personally encountered the barrier).
  17     3 5. Plaintiff will amend the complaint, to provide further notice regarding
  18   the scope of the additional demanded remediation in the event additional
  19   barriers are uncovered through discovery. However, please be on notice that
  20   the plaintiff seeks to have all barriers related to his disability remedied.
  21
  22   Io FII3ST CAUSE OF AC'I°IONo VIOI.A'I'ION ®F"I'HE A1VIERICANS
  23   WITH DISA.BILI'I'IES AC'I' ®F IL990 (On behalf of Plaintiff and against all
  24   Defendants.) (42 U.S.C. section 12101, et seq.)
  25      1. Plaintiff re-pleads and incorporates by reference, as if fully set forth
  26   again herein, the allegations contained in all prior paragraphs of this
  27   complaint. Defendant is a public accommodation with the definition of Title
  28   III of the ADA, 42 USC § 12181


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       Complaint
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   1     2. The website provided by the Defendant is a service, privilege or
   2   advantage of Defenders' brick and mortar facility.
   3     3. When a business provides services such as a website, it must provide an
   4   accessible website.
   5     4. Here, access to an accessible website has not been provided. A failure to
   6   provide an accessible website is unlawful discrimination against persons with
   7   disabilities.
   8      5. Here, access to an accessible website has not been provided. A failure to
   9   provide an accessible website is unlawful discrimination against persons with
  10   disabilities.
  11      6. Under the ADA, it is an act of discrimination to fail to ensu_re that the
  12   privileges, advantages, accommodations, facilities, goods and services of any
  13   place of public accommodation is offe-ted on a full and equal basis by anyone
  14   who owns, leases, or operates a place of public accommodation. See: 42 U.S.C.
  15   § 12182(a). Discrimination is defined, inter alia, as follows: "A failure to make
  16   reasonable modifications in policies, practices, or procedures, when such
  17   modifications are necessary to afford goods, services, facilities, privileges,
  18   advantages, or accommodations to individuals with disabilities, unless the
  19   accommodation would work a fundamental alteration of those services and
  20   facilities. 42 U.S.C. § 12182(b)(2)(A)(ii)."
  21      7. Here, the failure to ensure that the accessible facilities were available
  22   and ready to be used by the plaintiff is a violation of the law.
  23      8. Pursuant to 42 U.S.C. § 12188 and the remedies, procedures and rights
  24   set forth and incorporated therein, Plaintiff requests relief as set forth below.
  25

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       Complaint
Case 3:20-cv-02405-H-WVG Document 1-2 Filed 12/09/20 PageID.16 Page 10 of 21




   1     II. SEC®NI) CAiJSE ®F AC'I'I®No VI®I..A'I'I®T®T ®F 'I'IiE IT1aTRiJH CIVII.
   2     I2IGH'I'S ACT (On behalf of Plaintiff and against all Defendants.) (Cal. Civ.
   3     Code § 51-53.)
   4         1. Plaintiff repleads and incorporates by reference, as if fully set forth
   5     again herein, the allegations contained in all prior paragraphs of this
   6      complaint. The Unruh Civil Rights Act ("Unruh Act") guarantees, inter alia,
   7     that persons with disabilities are entitled to full and equal accommodations,
   8      advantages, facilities, privileges, or services in all business establishment of
   9      every kind whatsoever within the jurisdiction of the State of California. Cal.
  10      Civ. Code §51(b).
  11         2. The Unruh Act provides that a violation of the ADA is a violation of the
  12      Unruh Act. Cal. Civ. Code § 51(fj.
  13         3. Defendants' acts and omissions, as herein alleged, have violated the
  14      Unruh Act by, inter alia, denying, or aiding, or inciting the denial of, Plaintiff's
  15      rights to full and equal use of the accommodations, advantages, facilities,
   16     privileges, or services offered.
   17        4. Because the violation of the Unruh Civil Rights Act resulted in difficulty,
   18     discomfort or embarrassment for the plaintiff, the defendants are also each
   19     responsible for statutory damages, i.e., a civil penalty. Cal. Civ. Code §
   20     5 5. 5 6 (a)- (c) .
   21        5. Pursuant to 42 U.S.C. § 12188 and the remedies, procedures and rights
   22     set forth and incorporated therein, Plaintiff requests relief as set forth below.
   23

   24              PI3AYER:
   25              Wherefore, Plaintiff prays that this Court award damages and provide
   26   I relief as follows:
   27          1. A Declaratory Judgment that at the commencement of this action
   28     Defendants were in violation of the requirements of the ADA due to


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          Complaint
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   1   Defendants' failures to take action to ensure that its websites were fully
   2   accessible to and independently usable by hearing-impaired individuals,
   3   including providing closed-captioning on all video content containing audio
   4   elements.
   5      2. Pursuant to 42 U.S.0 g 12 18 1, a preliminary and permanent injunction
   6   enjoining Defendants from violating the ADA with respect to its website.
   7      3. Damages under the Unruh Civil Rights Act § 511, which provides for
   8   actual damages and a statutory minimum of $4,000 for each offense.
   9      4. Reasonable attorney fees, litigation expenses and costs of suit, pursuant
  10   to 42 U.S.C. § 12205; and Cal. Civ. Code § 52.
  11
  12
  13   Dated: October 27, 2020                 CENTER FOR DISABILITY ACCESS
  14
  15
  16
  17                                            By:
                                                      ,~Ow
  18                                           Russell Handy, Esq.
  19                                           Attorney for Plaintiff
  20
  21
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  23
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  27   ' Note: the Plaintiff is not invoking section 5 5 of the California Civil Code
  28   and is not seeking injunctive relief under the Disabled Persons Act at all.


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       Complaint
       Case 3:20-cv-02405-H-WVG Document 1-2 Filed 12/09/20 PageID.18 Page 12 of 21

ATTORNEY OR PARTY \AITHOUT ATTORNEY f Name, state Barnumber. and address,i:                                                    FOR COURT USE ONLY
 Russell t-{andy, Esq., SI3N 195058
 Center for llisabilitv Access
 iV-lail: 8033 Linda Vista Road, Suite 200 San Dieho,_CA-92-1-1-1 -- - - - -- ---- —---                            ELECTFIjOHICALLY FILED
 _Delivery: 8033 Linda-V ista-Road; Suite 200 San Diego, CA 921 11 ~                                                 Superior Clourt of Califr,mia,
                    ///                                    pp p A 1
                                                  FAXNO.: (000) `t2G-5191
     TELEPHONENO.: 1 858) 3 7 5-7385                                                                                    liounty of Nan DiFgr
                                   Ci~
 ATTORNEY FOR rNamel: [t_~lalnttll, Chrls LaIlger
                                                                                                                     10282020 at 09:24:21 P%A
SUPERIOR COURT OF CALIFORNIA, COUNTY OF San Diego
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      STREET ADDRESS: 1 100 Un1o11 St
     MAILING ADDRESS: 1, lOQ Un1011 St
                                                                                                                    B-y rubre. David,DFputy Clerk
    CITY AND ZIP CODE: San Dlego, CA 92101
          BRANCH NAME: San DleQo Central COUrthoUse.
 CASE NAME:
                      Langer v. Defenders, Inc.
                                                                                                               CASE NUM-~~
     CIVIL CASE COVER SHEET                                        Com lex Case Desi nation                             37-2a20-OaL130151-CU-CR-CTL
✓
[~ Unlimited                   0 Limited                          p         g
                                                              ~ Counter 0 Joinder
          (Amount                  (Amount
          demanded                  demanded is              Filed with first appearance by defendant          JUDGE ,judge         iGregory U1a' Pollack
          exceeds $25,000)          $25,000 or less)              (Cal. Rules of Court, rule 3.402)             DEPT:

                                         Items 7-6 below must be compietea (see rnstructtons on page z).
1. Check one box below for the case type that best describes this case:
    Auto Tort                                              Contract                                     Provisionally Complex Civil Litigation
                                                                   Breach of contract/warranty (06)    (Cal. Rules of Court, rules 3.400-3.403)
   0 Auto (22)
   ~ Uninsured motorist (46)                                       Rule 3.740 collections (09)                Antitrust/Trade regulation (03)
   Other PIIPDNUD (Personal InjurylProperty                0 Other co[lections (09)                    0 Construction defect (10)
   DamageNVrongful Death) Tort                                     Insurance coverage (18)             0 Mass tort (40)
    0 Asbestos (04)                                                Other contract (37)                        Securities litigation (28)
    0 Product [iability (24)                               Real Properry                                      Environmentai/Toxic tort (30)
    0 Medical malpractice (45)                                   Eminent domain/lnverse                 0 Insurance coverage claims arising from the
    0 Other PI/PDMID (23)                                        condemnation (14)                        above [isted provisiona[ly complex case
                                                                                                              types (41)
    Non-PIIPDMlD (Other) Tort                              0 Wrongful eviction (33)
                                                      Other real property (26)                          Enforcement of Judgment
    0 Business torUunfair business practice (07) 0
    EZI  Civil rights (08)                       Unlawful Detainer                                      = Enforcement of judgment (20)
    0 Defamation (13)                            0 Commercial (31)                                      iUliscellaneous Civil Complaint
    0 Fraud (16)                                           0 Residential (32)                           0 RICO (27)
    0 Intellectual property (19)                                   Drugs (38)                                 Other complaint (not specified above) (42)
    ~ Professiona[ negligence (25)                         Judicial Review                              Miscellaneous Civil Petition
    0 Other non-PI/PD/WD tort (35)                         0 Asset forfeiture (05)                            Partnership and corporate governance (21)
    Employment                                               Petition re: arbitration award (11)              Other petition (not speciffed above) (43)
    0 Wrongful termination (36)                             0 Writ of mandate (02)
    n Other emDlovment (15)                                n Other iudicial review (39)
2. This case U is         U is not         complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
   factors requiring exceptional judicial management:
     a. 0 Large number of separately represented parties                        d. 0 Large number of witnesses
     b.          Extensive motion practice raising difficult or novel           e. 0 Coordination with related actions pending in one or more courts
                 issues that will be time-consuming to resolve                            in other counties, states, or countries, or in a federal court
     c. 0 Substantial amount of documentary evidence                              0 Substantial postjudgment judicial supervision

                                             ✓ monetary
3. Remedies sought (check all that apply): a.~                                                                                      ✓
                                                                              b.M/nonmonetary; declaratory or injunctive relief c. Opunitive
4. Number of causes of action (specify): 2: Americans with Disabilities Act, Unruh Civil Rights Act
5. This case = is ✓~ is not a class action suit.
                                                                                                     lM-015.)
6. If there are any known related cases, file and serve a notice of related case. (You may use forruS.

 Date: 10/27/2020
 Russel Handy, Esq.
                                                                              NOTICE
  • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
    under the Probate Code, Family Code, or"Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
    in sanctions.
  • File this cover sheet in addition to any cover sheet required by local court rule.
  • If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
    other parties to the action or proceeding.
  • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes on~.
r.r_ne~rrr.+a~,cn:nm~irs                                                                                           Cal_ Rules of Court. rules 2_30. 3.220. 3.400-3.403. 3.740:
                                                                vI"               v "eN          I                        Cal. Standards of Judicial Adminislration, std. 3.10
   Judicial Council of Califomia
   CM-010 [Rev. July 1, 20071                                                                                                                           ww:v.courtlnfo.ca.gov
            Case 3:20-cv-02405-H-WVG Document 1-2 Filed 12/09/20 PageID.19 Page 13 of 21

                                                                                                                                               CM-010
                                            1NSTRUCTIOPIS ON HOW TO COIVIPLETE THE COVER SHEET
    To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example,. a complaint) -in a-civil case; you must
    complete and file, along with y ouur first.paper; the-Civil Case-Cover Sheefcontained on page 1. This information will be used to compile
---statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
     one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
     check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
     To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
     sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
     its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
     To Parties in Rule 3.740 Collections Cases. A"col[ections case" under rule 3.740 is defined as an action for recovery of money
     owed in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in
     which property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
     damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
     attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
    time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
     case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
    To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
    case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
    completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
    complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
    plaintiffs designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
    the case is compiex.
                                                               CASE TYPES AND EXAMPLES
    Auto Tort                                        Contract                                            Provisionally Complex Civil Litigation (Cai.
        Auto (22)-Personal Injury/Property              Breach of Contract/Warranty (06)                 Rules of Court Rules 3.400-3.403)
            Damage/Wrongful Death                           Breach of Rental/Lease                            Antitrust/Trade Regulation (03)
           Uninsured Motorist (46) (if the                         Contract (not unlawful detafner            Construction Defect (10)
               case involves an uninsured                             or wrongful eviction)                   Claims Invo[ving Mass Tort (40)
               motorist claim subject to                      Contract/Warranty Breach-Seller                 Securities Litfgation (28)
               arbitration, check this item                        Plaintiff (not fraud or negligence)        Environmental/Toxic Tort (30)
               instead ofAuto)                                Negligent Breach of Contract/                   Insurance Coverage Claims
    Other PI/PD/WD (Personal Injury/                             Warranty                                         (arising from provisionally complex
    Property DamagelWrongful Death)                           Other Breach of ContractNVarranty                   case type listed above) (41)
    Tort                                                  Collections (e.g., money owed, open             Enforcement of Judgment
           Asbestos (04)                                      book accounts) (09)                            Enforcement of Judgment (20)
              Asbestos Property Damage                        Collection Case-Sel[er Plaintiff                   Abstract of Judgment (Out of
                                                              Other Promissory Note/Collections                      County)
              Asbestos Personal Injury/
                    Wrongful Death                                 Case                                           Confession of Judgment (non-
           Product Liability (not asbestos or             Insurance Coverage (not provisionally                       domestic relations)
               toxlc%nvironmental) (24)                       comp/ex) (18)                                       Sister State Judgment
           Medical Malpractice (45)                          Auto Subrogation                                     Administrative Agency Award
              Medical Malpractice-                           Other Coverage                                          (not unpald taxes)
                    Physicians & Surgeons                Other Contract (37)                                      Petition/Certification of Entry of
              Other Professional Health Care                 Contractual Fraud                                       Judgment on Unpaid Taxes
                    Malpractice                              Other Contract Dispute                               Other Enforcement of Judgment
                                                      Reai Property                                                    Case
           Other PI/PDIWD (23)
              Premises Liabi[ity (e.g., s[ip             Eminent Domain/[nverse                           Miscelianeous Civil Complaint
                    and fa]I)                                 Condemnation (14)                              RICO (27)
              Intentiona[ Bodily Injury/PDMJD            Wrongfu] Eviction (33)                              Other Comp[aint (not specirred
                                                                                                                  above) (42)
                    (e.g., assau[t, vanda[ism)           Other Real Property (e.g., quiet title) (26)
              Intentional Infliction of                                                                           Declaratory Relief Only
                                                             Writ of Possession of Real Property                   Injunctive Relief Only (non-
                    Emotiona[ Distress                         Mortgage Forec[osure
               Ne9li9ent Inf[iction of                                                                                 harassment)
                                                              Quiet Title
                    Emotional Distress                                                                            Mechanics Lien
                                                              Other Real Property (not eminent
            Other PIIPD/WD                                                                                        Other Commercial Complaint
                                                              domain, landlord/tenant, or
                                                                                                                      Case (non-tort/non-complex)
    Non-PI/PDIWD (Other) Tort                                 foreclosure)
                                                                                                                   Other Civi[ Complaint
       Business TorUUnfair Business                   UnlawPul Detainer
                                                                                                                      (non-tort/non-complex)
           Practice (07)                                  Commercial (31)
                                                                                                          Miscellaneous Civil Petition
       Civil Rights (e.g., discrimination,                Residential (32)                                   Partnership and Corporate
               fa]se arrest) (not civil                   Drugs (38) ('rf the case lnvolves illegal                Governance (21)
               harassment) (08)                               drugs, check this item; otherwise,               Other Petition (not specified
           Defamation (e.g., slander, libel)                  report as Commerclal or Residential)                above) (43)
                 (13)                                 Judicial Review                                             Civil Harassment
           Fraud (16)                                     Asset Forfeiture (05)                                   Workplace Vio[ence
           Inte[lectual Property (19)                     Petition Re: Arbitration Award (11)                     Elder/Dependent Adu[t
           Professional Neg[igence (25)                   Writ of Mandate (02)                                         Abuse
               Legal Malpractice                               Writ-Administrative Mandamus                       Election Contest
               Other Professional Malpractice                  Writ-Mandamus on Limited Court                     Petition for Name Change
                   (not medical or legal)                         Case Matter                                      Petition for Relief From Late
       Other Non-PI/PD/WD Tort (35)                          Writ-Other Limited Court Case                            Claim
    Employment                                                   Review                                            Other Civil Petition
       Wrongful Termination (36)                          Other Judicial Review (39)
       Other Emp[oyment (15)                                 Review of Health Officer Order
                                                             Notice of Appeal-Labor
                                                                 Commissioner Appeals
    CM-010 [Rev. July 1, 2007]                                                                                                                     Page 2 of 2
                                                          CIVIL CASE COVER SHEET
     Case 3:20-cv-02405-H-WVG Document 1-2 Filed 12/09/20 PageID.20 Page 14 of 21


SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN DIEGO
                                                                                                       --    - ----   ---
STREET ADDRESS:      330 W Broadway                                                        —   — ---

MAILINO ADDRESS:—    —330-W-Braadway —   --
CITY AND ZIP CODE:   San Diego, CA 92101-3827
BRANCH NAME:         Central
TELEPHONE NUMBER: (619) 450-7071


PLAINTIFF(S)/ PETITIONER(S):                  Chris Langer

DEFENDANT(S)/ RESPONDENT(S): Defenders Inc


LANGER VS DEFENDERS INC [IMAGED]
                                                                                               CASE NUMBER:
NOTICE OF CASE ASSIGNMENT
and CASE MANAGEMENT CONFERENCE                                                                 37-2020-00039151-CU-CR-CTL


CASE ASSIGNED FOR ALL Pl9RPOSES T0:
Judge: Gregory UU Pollack                                                              Department: C-71


COMPLAINT/PETITION FILED: 10/28/2020


TYPE OF HEARING SCHEDULED                                ®ATE          TIME         DEPT                    JUDGE
Civil Case Management Conference                         04/16/2021     01:30 pm    C-71                    Gregory W Pollack


Due to the COVID-19 pandemic, all hearings will be conducted remotely until further notice. Absent an order of the court, personal
appearances at the hearing will not be allowed. For information on arranging telephonic or video appearances, contact CourtCall at
(888)882-6878, or at www.courtcall.com . Please make arrangements with CourtCall as soon as possible.

A case management statement must be completed by counsel for all parties or self-represented litigants and timely filed with the court
at least 15 days priorto the initial case management conference. (San Diego Local Rules, Division II, CRC Rule 3.725).

AII counsel of recortl or parties in pro per shall appear at the Case Management Conference, be familiar with the case, and be fully
prepared to participate effectively in the hearing, inclutling discussions of ADR* options.

IT IS THE DUTY OF EACH PLAINTIFF (AND CROSS-COMPLAINANT) TO SERVE A COPY OF THIS NOTICE WITH THE
COMPLAINT (AND CROSS-COMPLAINT), THE ALTERNATIVE DISPUTE RESOLUTION (ADR) INFORMATION FORM (SDSC
FORM #CIV-730), A STIPULATION TO USE ALTERNATIVE DISPUTE RESOLUTION (ADR) (SDSC FORM #CIV-359), AND OTHER
DOCUMENTS AS SET OUT IN SDSC LOCAL RULE 2.1.5.

ALL COUNSEL WILL BE EXPECTED TO BE FAMILIAR WITH SUPERIOR COURT RULES WHICH HAVE BEEN PUBLISHED AS
DIVISION II, AND WILL BE STRICTLY ENFORCED.

TIME STANDARDS: The following timeframes apply to general civil cases and must be adhered to unless you have requested and
       been granted an extension of time. General civil cases consist of ail civil cases except: small claims proceedings,
       civil petitions, unlawful detainer proceedings, probate, guardianship, conservatorship, juvenile, parking citation
       appeals, antl family law proceedings.

COMPLAINTS: Complaints antl all other documents listed in SDSC Local Rule 2.1.5 must be served on all named defentlants.

DEFENDANT'S APPEARANCE: Defendant must generally appear within 30 days of service of the complaint. (Plaintiff may
      stipulate to no more than 15 day extension which must be in writing and filed with the Court.) (SDSC Local Rule 2.1.6)

JU RY FE ES: In order to preserve the right to a jury trial, one party for each side demanding a jury trial shall pay an advance jury fee in
       the amount of one hundred fifty doilars (S 150) on or before the tlate scheduled for the initial case management conference in
       the action.



COURT REPORTERS: Court reporters are not provided by the Court in Civil cases. See policy regarding normal availability and
unavailability of official court reporters at www.sdcourt.ca.gov.

*ALTERNATIVE DISPUTE RESOLUTION (ADR): THE COURT ENCOURAGES YOU TO CONSIDER UTILIZING VARIOUS
ALTERNATIVES TO TRIAL, INCLUDING MEDIATION AND ARBITRATION, PRIOR TO THE CASE MANAGEMENT CONFERENCE.
PARTIES MAY FILE THE ATTACHED STIPULATION TO USE ALTERNATIVE DISPUTE RESOLUTION (SDSC FORM #CIV-359).




SDSC CIV-721 (Rev. 01 -17)                                                                                                         Page: i
                                                             NOTICE OF CASE ASSIGNMENT
    Case 3:20-cv-02405-H-WVG Document 1-2 Filed 12/09/20 PageID.21 Page 15 of 21




           C
    s`°""°r ,
     ~^         0             Superior Court of California
                                 County of San Diego


               N®'TICE ®F EI,IGIBII,I'TY T® eFILE
          AND ASSIGleTMENT T'® IlVIAGING DEPAIZTMENT

      This case is eligible for eFilang. Should you prefer to electronically file documents, refer to
General Order in re procedures regarding electronically imaged court records, electronic filing,
and access to electronic court records in civil and probate cases for rdiles and procedures or
contact the Court's eFiling vendor at www.onelegal.com for information.

       This case has been assigned to an Imaging Department and orgginal documents attached to
pleadings filed with the court will be imaged and destroyed. Original documents should not be
filed with pleadings. If necessary, they should be lodged with the court under California 1Zules of
Court, rule 3.1302(b).

        On August 1, 2011 the San Diego Superior Court began the Electronic Filing and Imaging Pilot
Program ("Program"). As of August 1, 2011 in all new cases assigned to an Imaging Department all
filings will be imaged electronically and the electronic version of the document will be the official
court file. The official court file will be electronic and accessible at one of the kiosks located in the
Civil Business Office and on the Internet through the court's website.
        You should be aware that the electronic copy of the filed document(s) will be the official court
record pursuant to Government Code section 68150. The paper filing will be imaged and held for
30 days. After that time it will be destroyed and recycled. Thus, you should not attach any
original documents to pleadings filed with the San Diego Superior Court. Original documents
filed with the court will be imaged and destroyed except those documents specified in
California lgules of Court, rule 3.1806. Any original documents necessary for a motion hearing or
trial shall be lodged in advance of the hearing pursuant to California l2ules of Court, rule 3.1302(b).
      It is the duty of each plaintiff, cross-complainarit or petitioner to serve a copy of this notice with
the complaint, cross-complaint or petition on all parties in the action.
       On all pleadings filed after the initial case originating filing, all parties must, to the extent it is
feasible to do so, place the words "IMAGED FII..E" in all caps immediately under the title of the
pleading on all subsequent pleadings filed in the action.




                                                                                                         Page: 2
              Case 3:20-cv-02405-H-WVG Document 1-2 Filed 12/09/20 PageID.22 Page 16 of 21




______ _-Department-7l-Palicies and Procedures - Honorable Gregory W. Pollack `m
        Central - Hall of Justice
        Rev. October 16, 2017



           • Judge: Gregory W. Pollack

           • Courtroom Clerk: Terry Ray (619) 450-7071

            • Independent Calendar Clerk: Ernestina Castaneda (619) 450-7325

            • Courtroom Bailiff: Lynn Wilkes (619) 450-7336

            • Trials: Mon. — Thurs., 9:00 a.m. —12:00 p.m. and 1:15 p.m. — 4:00 p.m., with a mid-morning break at 10:30 a.m. -
              10:45 a.m. and a mid-afternoon break at 2:30 p.m. — 2:45 p.m.

            • Ex parte Hearings: Mon. — Thurs., 8:15 a.m. — 9:00 a.m., but you must call the Calendar Clerk at (619) 450-7325
              for a reservation for a hearing date. Moving papers for the ex parte hearing should be filed by 10:00 a.m. at least
              one (1) court day before the scheduled hearing. Ex parte hearings are encouraged in order to resolve discovery
              disputes as an alternative to formal motions, but the court requires that counsel meet and confer prior to any such
              ex parte hearing so that the disputed issues have been pared down as much as possible by the parties before
              presentation to the court. Remember: "Compromise is not a sign a weakness."

            • Small Claims/Shont Cause Limited Civil Trials: Fridays at 8:00 a.m.

            • Trial Call: Fridays at 8:45 a.m.

            • Trial Readiness Conferences: Fridays at 9:00 a.m.

            • Law & IVlotion Hearings: Fridays at 9:30 a.m.

            • Case Management Conferences/Status Conferences: Fridays at 1:00 p.m.

            • Applications for Good Faith Settiement: The application for good faith settlement pursuant to the Code of Civil
              Procedure 877.6(a)(2) and proposed order shall be concurrently filed, after which it will be held the requisite
              statutory period (20 days plus 5 for mailing). If no motion to contest is filed, the order will be signed and processed
              after the statutory period has run. Thereafter, the clerk will return conformed copies of the application and signed
              order. The proposed order should contain the following language:

                     The determination by the court that the settlement was made in good faith shall bar any other joint
                     tortfeasor or co-obligor from any fun°her claims against the settling tortfeasor or co-obligor for equitabfe
                     comparative contribution, or parfial or comparative indemnity, based on comparative negligence or
                     comparative fault. CCP §877.6(c).

              Guardianships, Publications of Summons and ®efault Prove-lJps: Petitions for appointment of a guardian ad
              litem, applications for an order for publication of summons, and submissions of a default prove-up package may be
              filed ex parte without the necessity of a court appearance. Thereafter, the papers shall be reviewed by the Court,
              which may schedule a hearing if deemed necessary. Proposed default judgments claiming punitive damages
              and/or non-economic damages will usually require a hearing.
              Sealing Records: Requests to seal court records must comply with CRC 2.550 and 2.551. Note: "The court must
              not permit a record to be fited under seal based solely on the agreement or stipulation of the parties." CRC
              2.551(a).

                                                                Law 8 IVlotion

            1.The Court hears motions by reservation only. Counsel must first reserve a date for the motion by contacting the
              Calendar clerk at (619) 450-7325.

            2. Law & motion hearings are held on Fridays, from 9:30 a.m. to 12 noon.

            3. Unless the motion is unopposed, the court ordinarily does not post tentative rulings in advance of oral argument.
               However, prior to the commencement of oral argument, the Court will announce from the bench its tentative ruling
   Case 3:20-cv-02405-H-WVG Document 1-2 Filed 12/09/20 PageID.23 Page 17 of 21

   and reasons therefor so that counsel can appropriately focus their oral arguments.

 4.A courtesy copy of any reply brief should be_filed directly in Department 71--on the Friday before the Friday hearing,
   i.e., one-week before the hearing. This will allow the Court time to review the reply brief over the weekend, during
   which much of the law & motion preparation work is ordinarily performed. Reply briefs that are electronically filed or
   in-person with the business office on Friday generally do not make it into the system until the following week.

 5.Following oral argument, the Court will issue a formal written ruling. This minute order will be the final order of the
   Court, and, accordingly, counsel do not need to submit a proposed order.

 6.Please adhere to the page limitations for memoranda of points and authorities set forth within CRC 3.1113(d), i.e.,
   15 pages for an opening or responding brief (20 pages if motion for summary judgment or summary adjudication)
   and 10 pages for a reply brief. Do not try to get around these limitations by using a small font or frequent single-
   spaced footnotes. There is often truth to the adage, "More is less."

 7.If your case has settled or you have decided to take the motion off calendar, please call the court immediately so
   that the Court does not spend valuable time preparing a ruling that is no longer required.

 8. The parties are encouraged to meet and confer before filing demurrers, motions to strike and discovery motions.
   Please feel free to schedule an ex parte appearance if you feel the matter can resolve with some Court assistance.
   If you choose this route, be sure to first meet and confer with counsel so that the issues are pared down by the
   parties as much as possible before presentation to the Court.

 9. The Court allows telephonic appearances pursuant to CRC 3.670.

10.However, the Court strongly discourages telephonic appearances on law & motion matters where it is anticipated
   there will be considerable oral argument.

11.For motions for summary judgment or summary adjudication, the moving party shall deliver to Department 71 one
   week before the hearing, i.e., the Friday before the Friday hearing, a binder containing the following tabbed
   documents:

        1.Movant's memorandum of points and authorities;
        2. Movant's supporting declarations, each of which is separately tabbed;
        3.Opposition memorandum of points and authorities;
        4. Opposition declarations, each of which is separately tabbed;
        5.Movant's reply brief; and
        6.The opposition separate statement that responds to movant's separate statement and sets forth other
           material facts that the opposing party contends are disputed, along with any response thereto by the movant.
           See CCP §437c(b)(3); CRC 3.1350(f).



                                                    Trial Guidelines

 1.Be on time. Call the Court Clerk, Terry Ray at (619) 450-7071, if there is any reason why you may be late.

 2. Stipulations should be in writing, signed by counsel.

 3.No speaking objections. State only the legal ground(s) for your objection.

 4. No swearing or foul language unless the aftorney or witness is quoting what was, in fact, said.

 5.You are not required to obtain permission from the Court to approach the witness or otherwise move within the well.
   You may place the podium wherever you like. You are not required to stand while addressing the Court.

 6.The use of laser pointers is prohibited

 7.While arguing legal issues, address remarks to the Court rather than to opposing counsel.

 8.Do not show a witness any document that has not already been marked, even if you do not intend to offer it into
   evidence.

 9.Do not publish an exhibit, i.e., show it to the jury, unless the exhibit has already been admitted into evidence.
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                                                                m   ui   •


  10. Show all demonstrative evidence you intend to use in opening statement to opposing counsel. If there is an
      objection, the matter is to be brought to the Court's attention for a ruling prior to the- commencement-of-opening-----------
      statements.                         - --- - - - -        -- - - -- -- --

  11. Advise opposing counsel of your anticipated witness schedule (dates and times) as soon as practicable, and, unless
      the witness is a true impeachment witness, no later than the day before the witness is to testify. The Court will allow
      a witness to testify out of order if there is a legitimate scheduling conflict. "Down time" is unacceptable; there should
      be no gaps in time between witnesses.

  12. Jury Selection:

          a. In most cases, the clerk will call and seat 40 prospective jurors. Initial questions will be directed toward these
             40 jurors. Peremptory challenges are to be exercised only as to jurors 1 through 12. Jurors 13 through 40 will
             be substituted in for excused jurors in accordance with their numbers. At least two alternates will be
             selected.
          b. As a general rule, the Court will allow up to 25 minutes to each side to ask questions of the initial panel of
             jurors (40). Depending upon the complexity of the case or issues involved, more time may be provided upon
             request. In the event additional jurors beyond the original 40 are called, each attorney will be allotted
             additional time for voir dire. However, questions may be directed only to the newly called jurors.
          c. At the conclusion of questioning, the Court will call counsel to sidebar to make any challenges for cause.
          d. The purpose of voir dire is to elicit information from prospective jurors, not impart information to them. During
             voir dire, please do not argue your case or ask the jurors to promise you anything other than to follow the law
             as instructed by the court. Do not construct hypotheticals involving evidence you intend to produce at trial. Do
             not attempt to precondition jurors.
          e. (e.) During voir dire [and trial], do not provide any personal information about yourself, e.g., "When I was
             stationed in Vietnam ...," "I said to my wife last night ...," "My 12-year-old daughter said to me ...," etc.
             Your case is not about the lawyers. A lawyer's attempt to ingratiate himself with a jury based on his/her
             personal, professional or other life circumstances and/or accomplishments is inappropriate.

  13. Acceptable client advocacy never includes making misrepresentations of law or fact to the Court.

  14. Follow the Golden Rule: Treat people, including opposing counsel, the way you, yourself, want to be treated.



HON. GREGORY W. POLLACK

Judge of the Superior Court




              To see the Advance Trial Review Order for ®epartment 71, click here
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                          SUPER60R COUF2T OF CAL.IFORNIA, COUtdTY OF SAN DIEGU — ----------------- ---


                               ALTERNATIVE DISPUTE RESOLUTION (ADR) INFORMATION



CASE NUMBER: 37-2020-00039151-CU-CR-CTL                   CASE TITLE: Langer vs Defenders Inc [IMAGED]


NOTICE: AII plaintifPs/cross-complainants in a general civil case are required to serve a copy of the following
three forms on each defendanticross-defendant, together with the complaint/cross-complaint:
               (1) this Alternative Dispute Resolution (ADR) Information form (SDSC form #CIV-730),
               (2) the Stipulation to Use Alternative Dispute Resolution (ADR) form (SDSC form #CIV-359), and
               (3) the Notice of Case Assignment form (SDSC form #CIV-721).

Most civil disputes are resolved without filing a lawsuit, and most civil lawsuits are resolved without a trial. The courts,
community organizations, and private providers offer a variety of Alternative Dispute Resolution (ADR) processes to help
people resolve disputes without a trial. The San Diego Superior Court expects that litigants will utilize some form of ADR
as a mechanism for case settlement before trial, and it may be beneficiai to do this early in the case.

Below is some information about the potential advantages and disadvantages of ADR, the most common types of ADR,
and how to find a local ADR program or neutral. A form for agreeing to use ADR is attached (SDSC form #CIV-359).

Potential Advantages and Disadvantages of ADR
ADR may have a variety of advantages or disadvantages over a trial, depending on the type of ADR process used and the
particular case:

          Potential Advantages                           Potential Disadvantages
          • Saves time                                   • May take more time and money if ADR does not
          • Saves money                                     resolve the dispute
          • Gives parties more control over the dispute > Procedures to learn about the other side's case (discovery),
            resolution process and outcome                 jury trial, appeal, and other court protections may be limited
          • Preserves or improves relationships             or unavailable


Most Common Types of ADR
You can read more information about these ADR processes and wafich videos that demonstrate them on the court's ADR
webpage at http://www.sdcourt.ca.gov/adr.

Mediation: A neutral person called a"mediator" helps the parties communicate in an effective and constructive manner
so they can try to settle their dispute. The mediator does not decide the outcome, but helps the parties to do so.
Mediation is usually confidential, and may be particularly useful when parties want or need to have an ongoing
relationship, such as in disputes between family members, neighbors, co-workers, or business partners, or when parties
want to discuss non-legal concerns or creative resolutions that could not be ordered at a trial.

Settlement Conference: A judge or another neutral person called a"settlement officer" helps the parties to understand
the strengths and weaknesses of their case and to discuss settlement. The judge or settlement officer does not make a
decision in the case but helps the parties to negotiate a settlement. Settlement conferences may be particularly helpful
when the parties have very different ideas about the likely outcome of a trial and would like an experienced neutral to help
guide them toward a resolution.

Arbitration: A neutral person called an "arbitrator" considers arguments and evidence presented by each side and then
decides the outcome of the dispute. Arbitration is less formal than a trial, and the rules of evidence are usually relaxed. If
the parties agree to binding arbitration, they waive their right to a trial and agree to accept the arbitrator's decision as final.
With nonbinding arbitration, any party may reject the arbitrator's decisiori and request a trial. Arbitration may be
appropriate when the parties want another person to decide the outcome of their dispute but would like to avoid the
formality, time, and expense of a trial.


SCSCCIV-730(Rev12-10)       ALTERiVATIVE DISPUTE RESOLUTIOIV (ADR) INFORMATION                                               page:l
      Case 3:20-cv-02405-H-WVG Document 1-2 Filed 12/09/20 PageID.26 Page 20 of 21


Other ADR Processes: There are several other types of ADR which are not offered through the court but which-may be
obtained privately, including neutral evaluation, conciliation, fact finding, mini-trials, and summary jury trials. Sometimes
parties will t_ry a combination of-ADR processes. The important thing is to try to find the type or types of ADR that are
most likely to resolve your dispute. Be sure to learn about the rules of any ADR program and the qualifications of any
neutral you are considering, and about their fees.

Local ADR Programs for Civil Cases

Mediation: The San Diego Superior Court maintains a Civil Mediation Panel of approved mediators who have met
certain minimum qualifications and have agreed to charge $150 per hour for each of the first two (2) hours of inediation
and their regular hourly rate thereafter in court-referred mediations.

On-line mediator search and selection: Go to the court's ADR webpage at www.sdcourt.ca.gov/adr and click on the
"Mediator Search" to review individual mediator profiles containing detailed information about each mediator including
their dispute resolution training, relevant experience, ADR specialty, education and employment history, mediation style,
and fees and to submit an on-line Mediator Selection Form (SDSC form #CIV-005). The Civil Mediation Panel List, the
Available Mediator List, individual Mediator Profiles, and Mediator Selection Form (CIV-005) can also be printed from the
court's ADR webpage and are available at the Mediation Program Office or Civil Business Office at each court location.

Settlement Conference: The judge may order your case to a mandatory settlement conference, or voluntary settlement
conferences may be requested from the court if the parties certify that: (1) settlement negotiations between the parties
have been pursued, demands and offers have been tendered in good faith, and resolution has failed; (2) a judicially
supervised settlement conference presents a substantial opportunity for settlement; and (3) the case has developed to a
point where all parties are legally and factually prepared to present the issues for settlement consideration and further
discovery for settlement purposes is not required. Refer to SDSC Local Rule 2.2.1 for more information. To schedule a
settlement conference, contact the department to which your case is assigned.

Arbitration: The San Diego Superior Court maintains a panel of approved judicial arbitrators who have practiced law for
a minimum of five years and who have a certain amount of trial and/or arbitration experience. Refer to SDSC Local
Rules Division II, Chapter III and Code Civ. Proc. § 1141.10 et sea or contact the Arbitration Program Oftice at (619)
450-7300 for more information.

More information about court-connected ADR: Visit the court's ADR webpage at www.sdcourt.ca.gov/adr or contact the
court's Mediation/Arbitration Office at (619) 450-7300.

Dispute Resolution Programs Act (DRPA) funded ADR Programs: The following community dispute resolution
programs are funded under DRPA (Bus. and Prof. Code §§ 465 et seq.):
       • In Central, East, and South San Diego County, contact the National Conflict Resolution Center (NCRC) at
           www.ncrconline.com or (619) 238-2400.
       • In North San Diego County, contact North County Lifeline, Inc. at www.nclifeline.ora or (760) 726-4900.

Private ADR: To find a private ADR program or neutral, search the Internet, your local telephone or business directory,
or legal newspaper for dispute resolution, mediation, settlement, or arbitration services.

Legal Representation and Advice

To participate effectively in ADR, it is generally important to understand your legal rights and responsibilities and the
likely outcomes if you went to trial. ADR neutrals are not allowed to represent or to give legal advice to the participants in
the ADR process. If you do not already have an attorney, the California State Bar or your local County Bar Association
can assist you in finding an attorney. Information about obtaining free and low cost legal assistance is also available on
the California courts website at www.courtinfo.ca.aov/selfhelp/lowcost.




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  SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN DIEGO                                                              _ __ _ FoacouRTuseordtr

-STREETADDRE5$:             330 WeSt Broadway
 MAILING ADDRESS:           330 West Broadway
 CITY, STATE, & LIP CODE:   San Dlego, CA 92101-3$27
 BRANCH NAME:               Central

 PLAINTIFF(S):         Chris Langer

 DEFENDANT(S): Defenders Inc

 SHORT TITLE:         LANGER VS DEFENDERS INC [IMAGED]

                            STIPULATION TO USE ALTERI!lATIVE                                                      CASE NUMBER:
                                DISPUTE RESOLUTIOPd (ADR)                                                          37-2020-00039151-CU-CR-CTL

  Judge: Gregory W Pollack                                                                              Department: C-71

  The parties and their attorneys stipulate that the matter is at issue and the claims in this action shall be submitted to the following
  alternative dispute resolution (ADR) process. Selection of any of these options will not delay any case management timelines.
     ❑      Mediation (court-connected)                                  ❑ Non-binding private arbitration

     ❑      Mediation (private)                                          ❑ Binding private arbitration

     ❑      Voluntary settlement conference (private)                    ❑ Non-binding judicial arbitration (discovery until 15 days before trial)

     ❑      Neutral evaluation (private)                                     ❑ Non-binding judicial arbitration (discovery until 30 days before trial)

     ❑      Other (specify e.g., private minf-trial, private judge, etc.):




  It is also stipulated that the following shall serve as arbitrator, mediator or other neutral: (Name)




  Alternate neutral (for court Civil Mediation Program and arbitration onfy):


  Date:                                                                                         Date:




  Name of Plaintiff                                                                             Name of Defendant




  Signature                                                                                     Signature



  Name of PlaintifPs Attorney                                                                   Name of De£endant's Attorney




  Signature                                                                                     Signature
  If there are more parties and/or attorneys, please attach additional completed and fully executed sheets.
  It is the duty of the parties to notify the court of any settlement pursuant to Cal. Rules of Court, rule 3.1385. Upon notification of the settlement,
  the court will place this matter on a 45-day dismissal calendar.
  No new parties may be added without leave of court.
  IT IS SO ORDERED,

  Dated: 10/29/2020                                                                                            JUDGE OF THE SUPERIOR COURT
SDSC CIV-359 (Rev 12-10)                                                                                                                                   Page:1
                                      STIPULATION TO USE OF ALTERNATIVE DISPUTE RESOLUTIOhI
